          Case 2:21-mj-00257-PLD Document 16-3 Filed 02/10/21 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
          v.                                 : Case No. 21-mj-197 (GMH)
                                             :
RACHEL MARIE POWELL,                         :
    Defendant.                               :


                                    TRANSPORT ORDER

          Having considered the United States’ Motion to have the defendant Rachel Marie Powell

transported from the Western District of Pennsylvania to the District of Columbia for further

proceedings on the Complaint filed against her, it is hereby ORDERED

          That the United States Marshals Service transport the defendant forthwith from the

Western District of Pennsylvania to the District of Columbia for further proceedings in this

matter.




          DATE: February __, 2021
                                             _______________________________________
                                             BERYL A. HOWELL
                                             CHIEF JUDGE, UNITED STATES DISTRICT
                                             COURT FOR THE DISTRICT OF COLUMBIA




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